
THE COURT.
The petitioner, Matthew McKenna, was' denied relief by the respondents under the workmen’s compensation law (Stats. 1917, p. 831) because they found that petitioner had suffered no injury as a result of the alleged accident, and that the injury he complained of resulted from a previous accident.
The petitioner claims that the respondent board was without jurisdiction because the accident complained of *234comes within the admiralty jurisdiction of the federal courts. If this is true, the petitioner is not injured hy the fact that the respondent board found against him. If they have jurisdiction he is concluded by their finding. Not having shown any injury by the order complained of petitioner is not entitled to a writ.
The petition for a writ of certiorari is denied.
